                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                    WESTERN DIVISION
                               Civil Action No.: 5:19-cv-250-FL

                                                  )
EPIC GAMES, INC.,                                 )
                                                  )
               Plaintiff,                         )
                                                  )
                                                             Civil Action No.: 5:19-cv-250-FL
v.                                                )
                                                  )
C.B.,                                             )
                                                  )
               Defendant.                         )
                                                  )

                      MEMORANDUM IN SUPPORT OF
             CONSENT MOTION FOR ENTRY OF ORDER OF APPROVAL


        Defendant C.B., a minor (“Defendant” or “C.B.”), together with his mother and general

guardian, Kari Bennett (“Defendant’s General Guardian” or “Ms. Bennett”), submits the

following memorandum of law in support of the Motion for Entry of the Order of Approval. As

described below, the Motion for Entry of the Order of Approval should be granted and the

proposed Order of Approval should be entered because the parties have stipulated and agreed to

it and it meets the all the requirements of Local Civil Rule 17.1 (“Rule 17.1”) .

                                             FACTS

        This case, filed on June 18, 2019, is a civil action seeking injunctive relief and damages

against Defendant C.B. for (i) copyright infringement in violation of the Copyright Act, 17

U.S.C. §§ 106 and 501, et seq.; (ii) contributory copyright infringement in violation of the

Copyright Act, §§ 106 and 501, et seq.; (iii) circumvention of technological measures in

violation of the Digital Millennium Copyright Act (“DMCA”), 17 U.S.C. §§ 1201(a)-(b), 1203;

and (iv) trafficking in technological measures in violation of the Digital Millennium Copyright

Act (“DMCA”), 17 U.S.C. §§ 1201(a)-(b), 1203. (Comp. [DE 1] at ¶ 1.) Defendant is a minor,


           Case 5:19-cv-00250-FL Document 29 Filed 09/26/19 Page 1 of 3
and is represented by legal counsel and his mother, acting as his general guardian in accordance

with Rule 17(c)(1) of the Federal Rules of Civil Procedure. On August 5, 2019, Defendant filed a

Motion to Dismiss for Lack of Jurisdiction [DE 16], to which Plaintiff Epic Games, Inc. (“Epic”)

responded on August 23, 2019 [DE 23]. Defendant withdrew his motion to dismiss. Epic and

Defendant’s counsel (together with Defendant C.B. and Defendant’s General Guardian) began

settlement negotiations and, ultimately entered into a Settlement Agreement effective as of

September 16, 2019.


                                          ARGUMENT

       Under Rule 17.1, in order to settle a civil action with a minor, an “Order of Approval

[must be] entered by the court.” Unless otherwise ordered by the Court, an Order of Approval

must contain three statements as to certain topics set forth in the Rule. Because, as shown below,

the Rule has been fully satisfied, Defendant respectfully requests that the Motion for Entry of

Order be granted and the proposed Order of Approval entered.

       A.      The Requirements of Local Civil Rule 17.1(b)(1) Regarding Representation,
               Joinder, and Jurisdiction Have Been Met

       Pursuant to subsection 1 of the Rule, the Order is required to state that all parties are

properly represented and are properly before the court. Local Rule 17.1(b)(1). The Order

satisfies this requirement in paragraphs 2-5. The Order is also required to state that no questions

exist as to misjoinder or nonjoinder of the parties. Local Rule 17.1(b)(1). The Order makes this

statement in paragraph 4. The Order is then required to state that the court has jurisdiction over

the subject matter and the parties. (Id.) The Order satisfies this requirement in paragraphs 1-2.

       B.      The Requirement of Local Civil Rule 17.1(b)(2) Regarding the “Statement of
               Contentions” Has Been Met

       Because C.B. is the defendant in this case, the applicable portion of subsection 2 of the

Rule requires that a “statement of contentions sufficient to show that no affirmative defenses


                                        2
            Case 5:19-cv-00250-FL Document 29 Filed 09/26/19 Page 2 of 3
could clearly be raised in bar of recovery” must be made in the Order. Local Rule 17.1(b)(2).

The Order satisfies this requirement by paragraph 7 of the Order.

       C.      The Requirement of Local Civil Rule 17.1(b)(3) Regarding the Fairness of
               the Settlement Agreement Has Been Met

       As described in paragraphs 1, 4, and 9 of the Order, C.B. and Kari Bennett, C.B.’s mother

and general guardian, defended this action on his behalf and were advised by counsel in entering

into the Settlement Agreement. Accordingly, the portion of subsection 3 of the Rule which

requires that “an opinion as to the fairness and reasonableness of the settlement” must be

included in the Order, Local Rule 17.1(b)(3), is satisfied by paragraph 9 of the Order.

                                         CONCLUSION

       For the foregoing reasons, Defendant respectfully requests that his Motion for Entry of

Order of Approval be granted and the Order of Approval entered.


       Respectfully submitted, this 26th day of September, 2019.

                                             /s/ Jonathan D. Sasser
                                             Jonathan D. Sasser
                                             N.C. Bar No. 10028
                                             ELLIS & WINTERS LLP
                                             P.O. Box 33550
                                             Raleigh, NC 27636
                                             Telephone: (919) 865-7000
                                             jon.sasser@elliswinters.com

                                             David L. Hecht
                                             Yi Wen Wu
                                             PIERCE BAINBRIDGE BECK PRICE & HECHT
                                             LLP
                                             277 Park Avenue, 45th Floor
                                             New York, NY 10172
                                             T: (212) 484-9866
                                             E: dhecht@piercebainbridge.com
                                             wwu@piercebainbridge.com

                                             Counsel for Defendant C.B.



                                        3
            Case 5:19-cv-00250-FL Document 29 Filed 09/26/19 Page 3 of 3
